      Case 2:06-cr-02070-FVS    ECF No. 80   filed 11/06/06   PageID.139 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
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 5
     UNITED STATES OF AMERICA,
                                                        No. CR-06-2070-FVS
 6
                       Plaintiff,

 7
                                                        ORDER OF DISMISSAL
                v.
 8

 9
     PHILLIP RODRIGUEZ,

10
                       Defendant.

11

12        IT IS HEREBY ORDERED:

13        Pursuant to the Plea Agreement in CR-06-2097-FVS, the Indictment

14   in this case is dismissed.

15        IT IS SO ORDERED.       The District Court Executive is hereby

16   directed to enter this order and furnish copies to counsel.

17        DATED this     6th       day of November, 2006.

18
                                   s/ Fred Van Sickle
19                                    Fred Van Sickle
                               United States District Judge
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     ORDER OF DISMISSAL- 1
